PEN CanadSPEGnbpa har ViP BEKO Siahhae POUTDA RP 38 Filed 09/02/21 Page 1 of 4 Page 1 of 3

PEN-CANADA'S CAMPAIGN ON BEHALF OF SIAMAK
POURZAND
http://www.pencanada.ca/

Iranian journalist and film critic
Siamak Pourzand

This month PEN Canada focuses on a few of the many cases of persecution of writers in Iran.
These cases are all part of a pattern of repression against reformist and independent figures by the conservative
judiciary that has been gathering momentum in Iran since the parliamentary elections of February 2000.

Continued Clampdown on Freedom of Expression in Iran

http://iona.ghandchi.com/PEN/PENprisoners.htm

KRRERRERERERERERRRERERERRERERRERERERERERERRERERRERERERERERERERRRERERERER

Send an Appeal letter on behalf of Siamak Pourzand (see below)

writers énprison comanttlee

Urgent Appeal: Siamak Pourzand
May 10, 2002

His Excellency Hojjatoleslam Sayed Mohammad Khatami
President of the Islamic Republic of Iran

c/o The Presidency

Palestine Avenue

Azerbaijan Intersection,

Tehran, Islamic Republic of Iran

Excellency,

SP00183

http://iona.ghandchi.com/PEN/PENcanada.htm 5/7/04
_ PEN Canad SPO Sutsatey On Rene Riainat BRP “38 Filed 09/02/21 Page 2 of 4 Page 2 of 3

| wish to add my name to this appeal from PEN Canada, the Canadian centre of the world
writers’ organization, International PEN. PEN Canada protests the eight-year prison sentence
handed down to 72 year-old journalist, film critic and PEN Canada honorary member Siamak
Pourzand on May 3, 2002. We are also extremely concerned about reports from a reliable
source that Siamak Pourzand suffered a heart attack last week.

Pourzand was seized by security police on November 29, 2001. The authorities said nothing
about his disappearance and during his first four months of detention, he had no access to a
lawyer or medical care. Pourzand suffers from diabetes and a heart condition.

The Tehran Press Court reportedly sentenced Pourzand to eight years’ imprisonment on
charges of "undermining state security through his links with monarchists and counter-
revolutionaries". It is widely believed that the charges against him are based on ‘confessions’
which are thought to have been exacted under duress.

It is believed that Pourzand's disappearance and the charges brought against him may be
connected to his position as manager of the Majmue-ye Farrhangi-ye Honari-ye Tehran, a
cultural centre for writers, artists, and intellectuals or to his articles critical of the Islamic
regime.

PEN Canada considers the charges against Siamak Pourzand to be in violation of his
right to freedom of expression, as guaranteed by Article 19 of the International
Covenant on Civil and Political Rights, which Iran has ratified.

We demand that the authorities release him from prison immediately and
unconditionally, and that he immediately be provided with the urgent medical treatment
he requires, including transfer to a hospital if needed.

We are also extremely concerned about reports that Pourzand was ill-treated whilst in
pre-trial detention, and that his trial has not been conducted according to fair standards
as articulated in the Iranian Constitution and international treaties.

We urge the authorities to respond to these concerns.

Your Name
PEN Canada member

ERREKERERERERERRRERERERRRRERRERRERRRREREREREEREEREERRRERERERERERRERRRERERR

Read about our other Honorary Members in Iran, and the Berlin Conference

Writer, editor and human rights
lawyer Mehrangiz Kar flew back to
Tehran last April after having
attended a conference in Berlin

http://iona.ghandchi.com/PEN/PENcanada.htm 5/7/04
PEN Canad? Gitnaten on BASE tia BORA? “38 Filed 09/02/21 Page 3 of 4 Page 3 of 3

entitled "Iran After the Elections."
Soon after, she was arrested and charged with "acting against national security" for attending the
conference, and incarcerated in the notoriously harsh Evin Prison for a month. She was one of several
Iranian reformist writers, academics and intellectuals who had participated in the seminars at the
Henrich BGll Institute in Berlin. After being released on payment of substantial bail, she was tried in
secret on October 31 before the Revolutionary Court, whose procedures consistently fall far short of
international standards for fairness. The verdict is still not known.

At least twelve writers and activists face charges related to their attendance at the Berlin
conference. PEN Canada has adopted five of the Iranian conference attendees as Honorary
Members and is campaigning on their behalf. In addition to Mehrangiz Kar, they are:

e Shahla Lahiji, managing director of a publishing house and women's studies centre, and vocal
supporter of women's rights. She was also detained for one month on her return from Berlin, released on
bail, and tried on October 31 behind closed doors;

e Hojatoleslam Hassan Eshkevari, journalist, researcher, independent cleric
and scholar. He delayed his return from Berlin until August 4 and was arrested
the next day. Since then he has been kept in solitary confinement in Evin
prison, and denied legal counsel. In his trial he faces charges of apostasy,
"declaring war on God", and "being corrupt on earth", which can carry the
death penalty;

e Khalil Rostamkhani, a translator and journalist. He has been detained since May after providing
translations services to the Berlin conference and appeared in court on November 9, 2000. Accusations
against him include being a "mohareb" (fighter against god), of having "received and distributed leaflets
and press releases from opposition groups based abroad and of having participated in the organisation of
the Berlin conference, which posed a threat to the country's security". The prosecutor is seeking the
death penalty.

e and Akbar Ganji, a journalist. He was arrested in April upon his return to Iran and
faces charges of insulting religious edicts and figures, threatening national security, and
dissemination of propaganda against the Islamic system. He was brought to the
Revolutionary Court on November 9 where he told the judge he had been hung upside
down in his cell while being kicked in head and stomach by four prison guards; he started
a hunger strike to protest his treatment which included 80 days in solitary confinement
and no access to his family or lawyer.

ll

AKBAR GANJI

http://iona.ghandchi.com/PEN/PENcanada.htm 5/7/04
Case 1:19-cv-02070-JDB Document 20-38 Filed 09/02/21 Page 4 of 4

Startpagina

Beeldende kunst

Poezie

Proza

Film

Theater

Essays

Oproepen

Projecten

Links en @contacten

Fo oe

AIDA Agenda

Boekbesprekingen

Site Info

Site Nieuws

Site Map

Wat is AIDA

e-m@il ons

Siamak Pourzand (Iran)
Disappearance /Possible Extra Judicial Execution

URGENT ACTION APPEAL
Amnesty International, 27 November 2001
